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                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF MICHIGAN
                  _______________________________________________

JAMIE COE,                                     File No. 1:20-CV-______________

 Plaintiff,                                    Hon.

v.
                                               IMMEDIATE CONSIDERATION
                                               AND ORAL ARGUMENT
TRINITY HEALTH-MICHIGAN                        REQUESTED
d/b/a
MERCY HEALTH ST. MARY’S,
MERCY HEALTH, and ST. MARY’S
HOSPITAL,

     Defendant.


______________________________________________________________________________

       BRIEF IN SUPPORT OF PLAINTIFF JAMIE COE’S MOTION
              TO PROCEED UNDER FICTITIOUS NAME


        Plaintiff Jamie Coe seeks permission to bring this action using an assumed

name for the purpose of protecting his identity from public disclosure. He is

challenging his June 12, 2020 termination from his medical residency program with

Defendant. His termination was supposedly based on a finding that he violated

Defendant’s Harassment/Offensive Behavior Policy and allegedly engaged in a

“pattern of behavior” that violated their Standards of Conduct. Although the details

of the allegations against him are essentially unknown, Defendant has indicated he

is accused of some sort of sexual harassment and possibly unwanted sexual contact
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with a female coworker. Plaintiff disputes these allegations, and he has sought the

due process afforded him in his employment contract in order to properly defend

himself (which is the basis for the Complaint and Temporary Restraining Order he

is also filing in connection with this matter). But more importantly, for the purposes

of this Brief, the mere existence of this allegation puts his safety at risk,

particularly in his home country of Syria, where even an allegation of this sort is

taken very seriously and would put him at risk of physical harm. Therefore, forcing

Plaintiff to disclose his identity publicly could subject him and his family to

significant harm.

      Plaintiff will provide his true name to Defendant once the Court enters a

protective order barring further dissemination of his name and requiring that any

documents containing his true name be filed under seal.

                                         ARGUMENT

      As a general matter, a complaint must state the names of all parties. Fed. R.

Civ. P. 10(a). However, plaintiffs can be excused from identifying themselves if a

court concludes that a plaintiff’s privacy interests “substantially outweigh the

presumption of open judicial proceedings.” Doe v. Porter, 370 F.3d 558, 560 (6th Cir.

2004). The Sixth Circuit has identified several factors that the court may consider

in determining whether plaintiffs may proceed anonymously, including “whether

prosecution of the suit will compel the plaintiffs to disclose information of the

utmost intimacy.” Citizens for a Strong Ohio v. Marsh, 123 F. App’x 630, 636-37
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(6th Cir. 2005) (quoting Doe, 370 F.3d at 558).

      A plaintiff may also request to proceed anonymously for “fear of retaliation

and harassment.” John Does 1-4 v. Snyder, No. 12-11194, 2012 WL 1344412, at *2

(E.D. Mich. Apr. 18, 2012). To do so, a plaintiff must demonstrate that “retaliation

is not merely hypothetical but based in some real-world evidence.” Id. (internal

quotations omitted). A plaintiff can support this fear by demonstrating “the need for

anonymity to prevent retaliation, the reasonableness of the plaintiff’s fear, the

severity of the threatened harm, and the plaintiff’s vulnerability.” Id. (finding that

threats of physical violence against convicted sex offenders challenging legality of

the offender registry was sufficient to demonstrate that they, concerned for

additional retaliation, should be permitted to proceed anonymously).

      In addition, Rule 26(c) specifically permits the court to “make any order

which justice requires to protect the party or person from annoyance,

embarrassment, oppression or undue burden or expense” upon motion of a party.

The granting of a protective order under Rule 26(c) requires only a showing of good

cause by the movant. Once that showing is made, the Court has “broad discretion . .

. to decide when a protective order is appropriate and what degree of protection is

required.” Seattle Times Co. v. Rhinehart, 467 U.S. 20, 36 (1984).

      Here, Plaintiff’s privacy interests outweigh the general presumption of open

records, and he has a reasonable fear of retaliation and harassment. Although the

details of the allegations against him that resulted in his termination are,
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remarkably, still not specifically known, he has gleaned that he is being accused of

some sort of sexual harassment or unwanted sexual contact. Sexual harassment “is

clearly a matter of ‘the utmost intimacy.’” Doe 1 v. Mich. Dept. of Corrections, No.

13-14356, 2014 WL 2207136, at *10 (E.D. Mich. May 28, 2014) (quoting Doe. V.

Blue Cross & Blue Shield United of Wis., 112 F. 3d 869, 872 (7th Cir. 1997)); Doe I-

VIII v. Sturdivant, No. 06-10214, 2006 WL 8432896, at *2 (E.D. Mich. Apr. 7, 2006)

(“The Court cannot ignore the stigma this society places on alleged and convicted

sex offenders.” (Emphasis added.)). At this point, the allegations against Plaintiff

have not been publicly released, and he should not have to subject himself to this

kind of public scrutiny simply to enforce his rights in this lawsuit.

      Furthermore, Plaintiff has a reasonable fear for retaliation and harassment,

particularly from individuals in his home country of Syria. If Plaintiff’s identity

becomes publicly known, he could very easily become a focus of media attention,

both here and in Syria. There is widespread public hostility towards those accused

of sexual harassment or conduct, even before the person is convicted and regardless

of whether he is ultimately convicted at all. Particularly in Syria, persons publicly

identified as having perpetuated sexual harassment or unwanted sexual contact are

at grave risk of physical harm. (See Ex. 1, Affidavit.) Plaintiff is a married man, and

allegations or insinuations of adulterous conduct likewise put individuals at risk of

physical harm. (Id.) Thus, a protective order is necessary to safeguard Plaintiff’s

privacy and safety.
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      Finally, in considering a plaintiff’s request to proceed anonymously, a court

may also “consider whether the defendants are being forced to proceed with

insufficient information to present their arguments against the plaintiff’s case.”

John Does 1-4, No. 12-11194, 2012 WL 1344412, at *2 (quoting Citizens for a Strong

Ohio, 123 F. App’x at 636. In Porter, the court approved of protective order that

required disclosure of the plaintiffs’ identities to the defendants but limited disclo-

sure of the plaintiffs’ personal information to the public or outside the litigation. 370

F.3d at 560-61. Similarly, Plaintiff seeks an order that would limit disclosure of

personal information to the public, but that would permit the disclosure to

Defendant. Defendant’s ability to present a defense will not be hampered.

                                    CONCLUSION

      For the foregoing reasons, Plaintiff asks the Court to grant his motion to

proceed as Jamie Coe and to enter a protective order.

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                                  Attorneys for Plaintiff


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